                  Case 3:20-cv-00105-FM Document 6 Filed 05/19/20 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                     EL PASO DIVISION

BRANDON CALLIER,                                      §
                                                      §
      Plaintiff,                                      §
                                                      §
v.                                                    §                 EP-20-CV-00105-FM
                                                      §
SUNPATH LTD.; NORTHCOAST                              §
WARRANTY SERVICES, INC.; and                          §
JOHN DOES 1-4,                                        §
                                                      §
      Defendants.                                     §

                     ORDER GRANTING MOTION FOR EXTENSION OF TIME

        Before the court is “Defendants Sunpath, Ltd. And Northcoast Warranty Services, Inc.’s

Unopposed Motion for Extension of Time to Respond to Complaint” (“Motion”) [ECF No. 3],

filed May 18, 2020 by Sunpath, Ltd. and Northcoast Warranty Services, Inc. (“Defendants”).

Defendants seek a two-week extension of the deadline to respond to Brandon Callier’s

(“Plaintiff”) complaint.1 Plaintiff does not oppose the Motion.2 After due consideration, the

court finds that granting a two-week extension to respond is in the interest of justice and judicial

efficiency.




        1
          “Defendants Sunpath, Ltd. And Northcoast Warranty Services, Inc.’s Unopposed Motion for Extension of
Time to Respond to Complaint” 1, ECF No. 3, filed May 18, 2020.
        2
            Id.


                                                      1
          Case 3:20-cv-00105-FM Document 6 Filed 05/19/20 Page 2 of 2




       Accordingly, it is HEREBY ORDERED that “Defendants Sunpath, Ltd. And Northcoast

Warranty Services, Inc.’s Unopposed Motion for Extension of Time to Respond to Complaint”

[ECF No. 3] is GRANTED. Sunpath, Ltd. And Northcoast Warranty Services, Inc SHALL file

an answer or other responsive pleading on or before June 2, 2020.


       SIGNED AND ENTERED this __19th__ day of May, 2020.




                                                   FRANK MONTALVO
                                                   UNITED STATES DISTRICT JUDGE




                                               2
